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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25-00400 (AHA)
          v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                 Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25-00402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                 Defendants.


                                   JOINT STATUS REPORT

        Under the Court’s Order of February 13, 2025, the parties in the above-captioned actions

respectfully submit this Joint Status Report:

        1. Defendants’ Statement: Defendants propose to file their response to Plaintiffs’

motions for preliminary relief (AIDS Vaccine, Dkt. 13; Glob. Health, Dkt. 4), on or before

February 21, 2025, and further propose that Plaintiffs file their replies on or before February 26,

2025.




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       2. Plaintiffs’ Statement: Plaintiffs propose that the motion for temporary restraining

order filed in AIDS Vaccine, Dkt. 13, be deemed a motion for temporary restraining order and

preliminary injunction.

       Plaintiffs propose further that Defendants file their response to Plaintiffs’ motions for

preliminary relief on or before February 21, 2025, and Plaintiffs file their replies on or before

February 27, 2025. Plaintiffs further propose that the Temporary Restraining Order entered by the

Court on February 13, 2025 (AIDS Vaccine, Dkt. 17; Glob. Health, Dkt. 21), be extended by

fourteen days to allow the parties to complete briefing on the motions and the Court to rule on

them. The Court may, for good cause, extend the Order by fourteen days pursuant to Federal Rule

of Civil Procedure 65(b)(2). Good cause exists for such an extension in this case to ensure that

the temporary relief does not expire before the Court decides the preliminary injunction motions.




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Dated: February 14, 2025                        Respectfully submitted,
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